














IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






PD NO. 1392-07





	CRUZ JOEL GARCIA, JR., Appellant



v.



THE STATE OF TEXAS





ON APPELLANT'S  PETITION FOR DISCRETIONARY REVIEW


FROM THE FOURTEENTH COURT OF APPEALS


HARRIS COUNTY


		


	Per curiam.  Keasler and Hervey, JJ., dissent. 


ORDER


	The petition for discretionary review violates Rule of Appellate Procedure 68.4(i),
because It does not contain a complete copy of the opinion of the court of appeals.  

	The petition for discretionary review also violates Rule of Appellate Procedure 68.5,
because the petition is longer than fifteen (15) pages.

	The petition is struck.  See Rule of Appellate Procedure 68.6.

	The petitioner may redraw the petition.  The redrawn petition must be filed in the
Court of Criminal Appeals of Texas within thirty (30) days after the date of this order.


En banc.


Delivered: March 5, 2008.

Do Not Publish.


